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Tom Irmiter

 

UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF OKLAHOMA
EXHIBIT

A

Case No. CIiV-14-728-D

1) BL NACIONAL DE OKLAHOMA, INC.,

tabbies*

Piaintiff,

1) TRAVELERS CASUALTY INSURANCE
COMPANY OF AMERICA,

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)
Defendant. )
)

 

ORAL DEPOSITION OF
TOM IRMITER

January 20, 2016

ORAL DEPOSITION OF TOM IRMITER, produced as a
witness at the instance of the Defendant, and duly sworn, was
taken in the above-styled and numbered cause on January 20,
2016, from 9:34 a.m. to 3:51 p.m., before TAMI A. ADAMS, CSR
in and for the State of Texas, reported by machine shorthand,
at the offices of The Voss Law Firm, P.C., 26619 Interstate 45
South, The Woodlands, Texas, pursuant to the Federal Rules of
Civil Procedure and the provisions stated on the record herein

or attached hereto.

 

 

 

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713-650-1800 swreptproduction@swreporting.com

 
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110 112

1 MR, McCLENNY: Objection. Form. 1 A. Yes.

2 A. Not that I'm aware of as we sit here today. 2 Q._ Is it common for you to inspect a property that

3 Q. (BY MR. PFANSTIEL) All right. So -- 3 long after a loss?

4 (Brief interruption at the door} 4 A. Yes, We've inspected them up to six years

5 MR, PFANSTIEL: Are those the -- Is that 5 later.

6 the CV? é Q. Would you agree with me that the closer in time
7 MR. McCLENNY: That you asked for an 7 to a loss that you inspect a property, the -- the better

8 amended copy. And it is 16, 17 -- Yeah. (Handing 8 you're able to do as far as --

9 document.) 9 MR. McCLENNY: Objection. Form, Sorry.
10 MR. PFANSTIEL: We are replacing 1¢ Q. (BY MR. PFANSTIEL) - forming opinions as to
N Exhibit 11 with a — with a new exhibit we just il damage and cause of loss?

12 received, which is the updated -- 12 MR. McCLENNY: Same objection,

13 MR. McCLENNY;: You can set -- 13 A. Closer is better, but it's not always

14 MR. PFANSTIEL: ~ complete CV. 14 necessary.

15 MR, McCLENNY: You can set it to the side. 13 Q. (BY MR. PFANSTIEL) All things being equal,
16 THE WITNESS: Yeah. 16 would you say it’s better to inspect a property closer

0 MR. McCLENNY: Put it in later. 7 to the date of loss or farther away from the date of

18 A. What section was that; do you remember? 18 loss?

19 Q. (BY MR. PFANSTIEL) Eleven. 19 MR. McCLENNY: Same objection.

20 A. Oh, 11. Here we go. So you want to have her 20 A. You know, I —- we don't ever get to inspect

21 make a new stamp -- 21 them close to the date of loss, so...

22 Q. Yeah, iet's do that. 22 Q. (BY MR. PFANSTIEL) Well -

23 A. — and just get it done now? Otherwise, we'll 23 A. I mean, seriously, the closest that I have

24 forget. 24 inspected a property in the last five years to the date
25 (Exhibit 11 re-marked, and brief 25 of loss is probably some of the Joplin tornados, and

111 113

| discussion off the record) 1 even that was six months after the tornados, So a lot

2 Q. (BY MR. PFANSTIEL) Allright. So, 2 of times, we are brought in a year to 18 months after

3 Mr. Inmiter, what was your project on this case? 3 the event.

4 A, What was the scope of the project? 4 Q. Lunderstand that,

4 Q. Yes, sir. 5 A. Yeah,

6 A. To determine whether or not the property was 6 Q. What I -- My question's a little different.

7 damaged by a storm event on or around May 31st, 2013, to 7 Tt's -- Wouldn't you find it more advantageous, from an

8 determine what the extent of that damage was, and to 8 inspection standpoint, to actually inspect the property

9 determine the scope of repair, 5 closer to the date of loss --

10 Q. When were you hired? lo MR. McCLENNY: Objection. Form.

Ul A, Shortly before the inspection. I believe we MI Q. (BY MR. PFANSTIEL) - than farther away?

2 covered our retainer agreement, and it would have been 12 A, Actually, in a lot of cases, no. It benefits

13 shortly after that was executed. And that document was 3 us, When you have -- particularly on low-sloped roofs.
l4 executed on 7-2, 2015, and -- 14 Because -- Well, even on shingled roofs. Sometimes, the
15 MR. McCLENNY: That's Exhibit 6. 5 failure mechanism that occurs is latent. The roof can

6 A. -- my inspection occurred on June 8th, 2015. 16 be leaking after the event; but because of the way that
"7 So I inspected it on June 8th, and that's, Vv the roof deck is constructed, the thickness of the roof-

18 approximately, when we were retained. We sent out an 18 deck insulation, you may not discover the leaking

19 agreement on the 2nd, They got back to us after the 19 activities, or the intensity of the leaking, sometimes
20 inspection. 20 until six months, eight months, a year later,
2 Q. (BY MR. PFANSTIEL) Okay. at What's important in that situation is to
2 A. Yeah, 22 interyiew the stakeholders, And that's covered in the
3 a ASTM document that we discussed earlier. That's one of

Q. Fair to say that you've inspected the property
two years -- over two years after the alleged date of
loss?

 

the keys to that document, is you need to get service
history on the building, which I did. I met both with

 

 

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l the building owner and I believe his sister and had a 1 the storm, which are the entrance point for water, are
2 lengthy discussion when I first got there, 2 not co-located to the exit point. You can have the
3 We walked around the building, I'm 3 entrance point here, and you can have the exit point 30
4 looking -- Right as [ come in the door, on the right 4 feet away on the inside, depending on the roof deck, the
5 side, you can -- And I have pictures of this -- you can 5 roof slope, openings in the roof deck, which when I was
6 see water damage. You can see water damage on the 6 able to, I was able to photograph, you know, different
7 ceiling. My first question is, Tell me about this, 7 cuts and openings and things in that -- in that slab,
8 When did this occur? Has this been ongoing?" You know. 8 And so it made very clear sense as to why the leaking
9 Q. Well -- 3 was occurring the way it was and how it was finding its
1 A. Those kinds of things are very important to 10 way into the building.
nN establish a timeline. M1 That wouldn't show necessarily as
12 Q. Okay, So is it your testimony today -- 2 completely on the day of the storm. That doesn't mean
13 A. (Nodding head.) 3 that the water wasn't there on top of that concrete
14 Q. ~ that you would prefer to inspect a property M4 deck. And so the scope of repair might, in fact, be
15 two years after the loss or closer in time to the loss? 15 diminished incorrectly if you're diagnosing too quickly.
16 MR. McCLENNY: Objection. Form. 16 Q. Okay. So --
\7 A. Doesn't make a difference. 7 A. Yeah.
18 Q. (BY MR. PFANSTIEL) Doesn't make a 18 Q. So ifl'm understanding you correctly, it's --
19 difference -- 19 you're in a better position to judge the scope of damage
20 A. Does not make a difference. No. 20 and the cause of damage out two years than -- than, say,
21 Q. So there is no advantage, in your opinion, to al Mr. Watson was, closer in time to the loss.
22 inspecting a loss close -- right after it happens as 22 MR. McCLENNY: Objection. Form.
33 opposed to two years later. 23 A, Yeah, There's --I -- Yeah, I believe so, FE
a4 A. No. I don't believe there is. And, in fact, 24 guess I would liken it to kind of like a whiplash,
25 there are some advantages to inspecting it later than 25 Whiplash, you know, sometimes doesn't evidence itself
115 117
1 sooner. 1 immediately in terms of the damages that you might have
2 Q. Okay. 2 to your neck or your back or something like that, I
3 A. As I discussed, 3 know that, having been through one of those.
4 Q. Okay. 4 Q. (BY MR. PFANSTIEL) Well, but the hail
5 A. Yeah. 5 fractures to a roof membrane would be more evident
6 Q. So, actually, it's better to inspect it later 6 closer in time, would they not?
? than sooner, 7 A. Not necessarily.
8 A. In some instances, yes. 8 Q. Does that --
9 @. How about here in this case? 9 A. But they'll be -- they'll be no less evident
10 A. [believe so, T actually believe that -- And 10 fwo years later,
i we talk about this -- that the -- the leaking that hegan n Q. What if you had intervening hailstorms in the
12 to occur after this event, based on information provided 2 intervening two years; how does that play into it?
13 to us by the building owners and the building occupants, 3 A. We see that all the time, Absolutely,
la had progressed a great deal in that two-year period. 14 Q. What do you do to determine whether a hail
15 That would be very consistent with a roof that has had a 15 strike you see occurred two years ago or from the
16 catastrophic failure and how that failure presents 16 intervening storm?
a itself over a time continuum as opposed to immediately. 7 A. Well, as I said before, [ would have been --
18 Q. Okay. 18 1 — This -- This project would have given me more
19 A. Yeah. 19 concern about intervening hailstorms --
20 Q. So what I'm hearing you say is damages can 20 Q. Uh-huh.
21 manifest themselves over time. at A. -- had my questions to the building owners,
22 A. Yes. They present themselves over time. 2 when [ asked them about the pattern of leaking, had they
3 The — And the problem is, is that the - 3 said, "Yeah, we had this event, and boy, you know what?
a4 often what's misdiagnosed on low-sloped roofs after an 24 It just started leaking three weeks before you got
35 event like this is the created openings that result from 35 here." Then I would have been concerned. I would have
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l been calling this law firm, and I would ~ that retained 1 there because of leaking." He said, "No. This roof

2 us, and I would have been saying to them, "Guys, you a wasn't leaking before the storm hit."

3 know, we have the wrong” -- "we have a different storm 3 That's pretty important information. I

4 date. We have things occurring as a result of a new 4 would have liked to have seen that in the report from

5 storm." 5 the other engineers, but they didn't -- they didn't

6 But because I had very believable -- I 6 comment on any of that stuff. They just automatically

7 don't know why they would want to lie. Didn't make 7 assumed that the reason the white coating was on there
8 sense that they would, I always trust the people I'm 8 was because the leak — roof was previously leaking, and
9 working with, They seem reasonable, I had very good $ that's not the case.
10 documentation from them that this is what occurred, and 16 Q. Oh
H it's gotten progressively worse. And so the damage had ul A. Yeah,
2 already occurred. So I, really, don't care if there's 12 Q. So what did you do to confirm what -- what the
3 additional storm damage at that point in time. 13 building owner told you?
14 Q. Okay. So -- 14 A. Saw a couple of buckets, in the back, of the
15 A, Yeah, IS white coating, and took him at his word.
16 Q. -- you had talked to who? 16 Q. Did you talk to any of the tenants?
7 A. The -- And, again, I'm not going to have the Vv A. The tenants - I talked to the people on the
18 name of the guy, but the owner. The guy who owns the 18 right side of the building. I think it's a nonprofit --
19 newspaper, 19 I want to say something to do with welfare or something
20 Q. Okay. 20 like that -- office. I walked through there. I talked
21 A. Yeah, And his -- } talked to him. I talked to al with them. They had counseling sessions going on, I
22 his sister, I believe. 22 said, "Can I take a look?" [ said, "Are you guys having
23 Q. And what did -- what did you -- what did he 23 leaking?" They said, “No, not right now, we're not
24 tell you? 24 having any leaking."
35 A. Well, I said, Tell me about the" ~- "Tell me 25 "Have you had leaking?"

119 121

! about" - I said, "I'm looking at these pictures of 1 "Yes, we've had leaking."

2 these roofs that have been published in reports and 2 "Has it been going on forever?"

3 stuff that we pulled up, and I'm locking at Google Earth 3 "No. It started a few years ago.”

4 and pictorial pictures; and I'm seeing this roof that's 4 Q. Okay.

5 got this varying degrees of white coating on there, And 5 A. Okay.

6 so my first question to you is, "Why are you putting the 6 Q. So -- But you don't remember who this was that

7 white coating on there?" 7 you talked to?

8 Because intuitively, what I would be 8 A. No. You can -- It's a -- It's a health service

9 thinking, based on my education and experience, is 9 that's part of the building.

10 you're putting the white coating on there because it's 19 Then there's a middle part of the building

u leaking. Right? Wi that I couldn't get access to. It was closed that day.
la And by the way, I said, "Did anybody else 12 Q. So did ~- Okay. So - Do you have notes of who
13 interview you?" They said, "No. You're the first guy 13 you talked to?

l4 to interview me. The other engineers that were here for l4 A. HT have them, I would have produced them to
15 the insurance company didn't sit down and talk to me 15 you.

16 about this." And to me, that's essential to evaluating 16 Q. Okay.

V7 a claim like this in terms of causation, 7 A. Yeah.

18 And he said -- I said, "So why did you put 18 Q. So I'll -- Ti represent to you that you

19 it on there?" Said, "Oh. To save energy." 13 didnt produce any notes.
20 "So you put the white" -- 20 A. Yeah. Typically, any field notes are forwarded
2 "Yeah, I put the white stuff on there, 21 inte. So I would have taken field notes, for example,
22 and we would put it on as it wore out, because of energy 22 for Section 2.3, which are the roof cores, the actual
23 cost. We thought it was a way to reflect the sun and 23 measurements in the roof cores; and those would have
24 ssave energy." 24 been in my logbook. I would have taken field notes
25 So { said, "So you weren't putting it on 23 about ceiling stains, and E would have taken

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l leaking? j determine that was from the 2013 storm and not the 2015
2 Q. (BY MR. PFANSTIEL) Right. 2 storm?
3 A, What compromised it? 3 A. The -- I couldn't necessarily determine that,
4 Q. So-- 4 at that point in time.
j A. That's, really, the big question. 5 Q. Were you able --
6 Q. Okay. So what -- 6 A. Yeah,
7 A, Yeah. 7 Q. Were you able to later determine that?
4 Q. -- what I-- Okay, So you believe the roof 8 A. No. No. That would be difficult. I mean, it
3 began leaking after the storm, because that's what the 5 certainly was in that spot of those two. It certainly
16 owner told you. 10 wasn't from a 2'7, 2'08, something like that, event.
i A. Yes, il The -- The exposed surfaces were fairly
12 Q. What did you do to determine the cause of the 12 clean. I mean, they weren't aged. They weren't
13 leak? 13 polluted. They looked fairly clean.
14 A. Well, first of all, what I did is, I inspected ia Q. So that would --
15 the interior of the building and documented water- 15 A. So...
16 infiltration areas that were visible to the naked eye 16 Q. - indicate a new --
17 and the camera. Y A. Something within a couple of years, yeah,
18 T then, on two different occasions, used 18 Q. Okay, So -- So -- And you -- you went and
19 an infrared camera to look for anomalies in those 19 looked for hail marks on -- on the roof membrane itself?
20 locations, and took documentations of anomalies. 20 A, Yeah. And particularly in the areas that had
21 I then got up on the roof, and I walked 21 been coated, I was locking for what we call hail shocks,
22 the entire roof two different days in, essentially, two- 22 And that leaves a -- Where it hits, it kind of leaves a
23 foot increments, from left to right on the first day and 23 nice, you know, circle, circle, cirele, kind of shock
2 from back to front on the second day. So I'm -- I'm 24 mark, And I found, you know, some of those.
25 really getting a chance to look at this roof completely. 25 I looked at delamination of the surface,
127 129
: I spent time using a infrared camera and a 1 where it chipped off parts of the surface.
2 Tramex meter to triangulate potential water that was in 2 It's interesting now because what you have
3 the roof system itself. 3 shared with me today sheds some light on part of my
4 I performed some core cuts to determine 4 investigation. Because based on the age of the
3 how many layers of roof were on there and to determine 5 building, when we pulled up the County records, I
6 the -- if it was wet, if, in fact, the triangulation was 6 anticipated seeing multiple layers of roofing on here.
7 correct. 7 And, I mean, it was, you know, one layer. So that now
8 And then I spent time both days looking 8 makes sense as to why I wasn't seeing multiple layers,
9 for physical damage to air-conditioning units, soft 9 since the roof had been redone in '07,
10 metals, parapet.wall caps, There's two types. One, 10 Q. So--
i there's a metal cap; and there's a clay tile cap. i A. Yeah. ;
12 And then I spent time physically on my 12 Q. -- when you say single layer, is that -- is
13 hands and knees for a couple of hours very closely 13 that like a one ply, or how -- how do you --
M4 looking at and tactilely feeling for impact damage 14 A. Well, it's a built-up roof. But on buildings
15 typically caused by hail. 15 of this age, we typically see the first roof. Then we
16 Q. Okay, 16 see some scarification. We might see another one.
” A. It was fairly thorough, I think, investigation. VW We cut one in Dallas yesterday. My guys
8 Q. Sure. 1a told me they had five different layers of roofing on
19 A. Yeah. 19 there that was about nine inches thick,
20 Q. So what - when you say you're inspecting 20 You know, this was a nice, you know, inch
21 the -- the soft metals, you found some hail? al and a half, indicating that it's -- it's a single
22 A. Yes. 22 application at this point.
33 Q. You found a hail hit to the clay tile? 23 And so what I found interesting in reading
24 A. I think about eight or ten, yeah. 24 the Vertex report when I saw that — And this now starts
25 Q. How -- How -- How would you -- How could you 25 to make sense -- is that I expected the condition of
33 (Pages 126 to 129)
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1 A, Yes, Ido, Absolutely, 1 on a roof that was in 2007, no.
2 Q. Okay. , 2 Q. Have you ever seen a six-year-old roof with
3 A. Yeah. Oh, absolutely. 3 this kind of alligator cracking on it?
4 Q. Why is that? 4 A, All the time, yeah.
5 A. Well, there's -- there's water damage. I mean, 5 Q. Is that primarily because they don't provide UV
6 the roof is leaking. It's clearly - 6 protection on them?
7 And -- And again, I'm nota -- I have not 7 A. Correct.
8 been asked as a -- to be a policy expert on this. Okay? 8 Q. So they — you should either put some kind of
9 But I'm familiar enough with insurance policies to know 9 elastomeric coating or a ballast or something on it?
19 that one of the covered losses is water damage that lo MR. McCLENNY: Objection. Form.
1 occurs on the interior. u A. You -- You can. It's -- Depends on the -- the
12 So if I was given that assignment by the 2 installer. It depends on the products they're using.
13 insurance company, I would certainly want to not only 13 Q. (BY MR. PFANSTIEL) Okay.
i eliminate the possibility of hail, but I'd also want to l4 A. Is this the first UV -- or is this the first
15 eliminate, why is the water getting in? Because there 15 uncoated built-up roof that I've seen alligator? No.
16 may be an underlying claim for the interior repair work. 16 I've seen alligatoring on every built-up roof I've ever
7 We have lots of claims over the years 7 looked at.
18 where a roof isn't paid for, but the ensuing loss on the 18 Q. Okay.
9 inside is. And so I don't know what his assignment was. 19 A. That's a pretty common phenomena,
20 We don't look at policies. We're not 20 Q. That does not have the UV coating on it,
2] hired to evaluate policies. We don't go with that in 21 A. I've seen it with UV coating --
22 mind. But again, I don't know what his assignment was. 22 Q. Okay.
23 Q. Okay. 23 A. -- as well. Absolutely,
24 A. But typically, you would want -- I certainly, 24 Q. Oh. And earlier, you had mentioned something
25 and as a firm, we certainly want to figure all that out 25 to the effect of when you heard that he had put
171 173
l before we leave the site. 1 elastomeric coating on this roof, that you'd expected
2 Q. Okay. a that was because it was leaking; and you were surprised
i A. Yeah, Let's see, These are all core pictures 3 when he told you it was to reflect the sun away?
4 that go all the way to page 93. Yeah. And I think 4 A. Yes.
5 that’s it, that Ihave. Yeah. 5 MR. McCLENNY: Objection.
6 Q. Okay, And 6 A. For U-
? A, Oh, I the —I'd like to comment on page -- ? MR. McCLENNY: Form.
8 on Figures 111 through -- 8 A. For UY and for energy -- energy reasons --
9 Q. Well, before we go there -- 9 Q. (BY MR, PFANSTIEL) Okay,
1 A, Okay, 10 A. ~ is what he was indicating,
N Q. -- real quick, 107, is that a hail bruise? YW Q. Does that indicate - Is it common -- In your
1 What is that? 2 experience and over the years you've been doing this, is
8 A. Yes, It's a hail shock. 13 it common for alligator cracking to cause leaks?
i Q. Hail shock. 14 A. No, Historically, we don't see that. Again,
5 A. Right in the center of it. 15 the reason we don't is because we would see catastrophic
16 Q. Okay, And then 108? 16 failure if that were the case,
VW A, Displaced material caused by hail, in my " I mean, there's millions of inches of
18 opinion, 18 cracks on this roof from alligatoring, Yeah.
19 Q. Okay. But you -- you'd agree with me that when 19 Q. Right.
20 a flood coat like this alligator cracks, it becomes 20 A, So--
al brittle. Right? 21 Q. Well, maybe not all of the millions of inches
22 A. Oh, yeah, 22 are leaking yet,
23 Q. Can -- Can that material be displaced by a 33 A, Maybe, they're not, But I certainly feel like
a4 flood trap? 24 the correlations that I was able to meet ~ make between
25 A. Ona roof that's about 30 years old, yeah; but 35 impact locations and section loss of material and

 

 

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1 downward slope leaking seems reasonable. ) see in that wall? This is an interior wall,

2 Q. Okay. 2 Q. Uh-huh.

3 A. Yeah. 3 A. Yshould see nothing in that wall, I should

4 Q. Well, you — you found downward slope leaking 4 see a nice clean orange sereen on that wall.

3 in how many locations? 3 The wall behind you, I'll probably see

6 A. Not allover, Yeah. Didn't find it all over. 6 some purples and some oranges; and below the window, if
7 Q. No. In how many? 7 it's leaking, I'll probably see a plume, indicating

8 A. Qh, I'd have to look back on the infrareds 8 potential -- an anomaly consistent with water intrusion.

9 and — 39 - That's the first step,

10 Q. Oh, fiom -- 10 Q. Was infrared — it's measuring heat. Right?

i A, Yeah. UL A. Measuring heat. Absolutely.

12 Q. -~ the infrared, \2 Q. So it's not measuring water. It's measuring

3 A. Yeah, from the infrared. 3 heat.

\4 Q. So was infrared, is that a -- is that a \4 A. Measuring heat. So --

15 reliable way to check moisture levels? 13 Q. So how did you -- But you just said -- 1 may

16 A, Depends on your training, 16 have misunderstood you. But we were -- [ asked you

7 Q. Okay. In your training, is it reliable? (7 about you had checked, you know, downward wetness,

18 A. Well, [ was trained by the U.S. Department of 18 A. Yeah.

19 Energy, back in 1984, to use infrared. Feel like it's ‘9 Q. And you said you checked it with infrared.

20 very -- Yeah, I -- 20 A. Yeah.

2] Q. Okay. It's reliable in your hands, 21 Q. And that indicated to you that it was wet.

2 A, Yes, absolutely. I've actually been -- 22 A, No. That's not what I said.

B Q. Okay. Because -- 3 Q. Oh, okay.

a4 A, Yeah, 4 A. No. I--

35 Q. The reason I'm asking -- 25 Q. I misunderstood.

175 177

1 A, Yeah, 1 A. [indicated that -- f indicated that I found

2 Q. -is because you didn't -- in your infrared 2 numerous anomaly locations on the roof.

3 pictures, you -- or your photos, you say, “infrared 3 Q. Okay.

4 photo showing anomaly." 4 A. Numerous anomaly locations, Then I took a

5 A. Right. 5 Tramex moisture meter at those anomaly locations, after
6 Q. You don't say, "showing moisture." 6 Thad calibrated for dry.

? A. It doesn't show moisture, ? Q. Okay.

8 Q. Okay. So - Okay, How does that work? 8 A. And moved it to the -- I mean, I've got the

8 A. That would be -- Somebody's out there telling 9 infrared camera running. I set it on the roof, and I
1 you that they can find moisture or mold or anything like 10 move -- move the infrared -- move the meter to an

MN that with an infrared camera, they don't know what VW anomaly location.

2 they're talking about. 12 Q. Right.

FI Number | -- Number 1, to use an infrared 13 A. The meter pegs out at eighty to a hundred

14 camera, you need to know how the building is 14 percent. I have pictures of the infrared and the meter
15 constructed. If I'm going to shoot the infrared camera 15 in the infrared picture. That's what I was doing to

‘6 on that wall behind her — All right -- I've got to 16 moisture map.

know, darn well, there's probably 16-inch studs on 7 Q. Okay. So --

18 center. I may find an old header in there from a door, 18 A. SoI'm using two points of correlation.

19 T need to know why -- what that is. I need to know that 19 Q. Okay. So when you're using -- Okay. So you're
20 sits a header that I'm looking at. 20 using infrared and Tramex. And -- And together --
2 So you know ali you need to know how the 2 A, And I also put the infrared on the Tramex at
22 building's constructed, so you know what you're looking 22 the locations that I was hitting 18 to 20 percent, And
B at. Not unlike a doctor looking at an x-ray. 23 guess what? There's no anomaly.
4 Then you need to be able to understand 24 Q. Okay. Okay. Allright. Is there, like, a --
25s what anomaly — what anomalies look like. What should I 25 astandard methodology or procedure, you know, resource

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| and placed a bunch of orange cones on things that she 1 as to when the leaking started. .
2 thought was bail damage, and then they relied on that to 2 A, Yes, from the investigation; and, also, you
3 formulate their opinion, that would be a terrible thing 3 know, had the alligator cracking been the cause of the
4 to do. 4 damages, J already testified the damages would be more
5 Q. (BY MR. PFANSTIEL) But -- But, I guess, I'm - 5 catastrophic than this, And, also, the infrared, and
6 I guess what I'm getting at is, what's — what's the 6 even the moisture readings, would have been much less
7 basis of your opinion that he did not perform an 7 localized as -- as we took -- it would have been more
8 investigation other than looking at the orange cones? 8 widespread,
9 A. There's no other data, in his report, 9 Q. Okay.
10 indicating that he did, There's nothing else, in his 0 A. Yeah.
" report, indicating that he did anything other than that. NM Q. The -- You're assuming, though, that the
12 Q. Ob. So you don't think that he inspected the 2 alligator cracking would all deteriorate and -- and --
3 roof? 13 at the same -- at the same --
4 A, I think he inspected the roof, There's ne 4 MR. PFANSTIEL: Strike that.
'S indication that he gathered any additional data 1 Q. (BY MR. PFANSTIEL) And -- And you did find
16 regarding damage to the roof, other than where the cones 16 blisters on the roof?
7 were placed. 7 A. I found one blister, and that was up on the
18 Q. Okay. 18 parapet wall; and I indicated that it was a bubble on
19 A. Yeah. 19 that, that it had been indented by hail. I did not find
20 Q. Because he didn't find hail damage. 20 any other blistering.
al A. Well... 21 Q. Okay. Because 3.11, you say, "Blisters exist
22 Q. Okay. Allright. So what you're saying, if 22 on the roof.”
24 all he did was just go to the orange cones, that 23 A. Hmm. Probably a misprint.
24 would - he wouldn't have been doing his job. 24 Q. Okay. So your testimony today is there's only
35 A. Correct. 25 one blister.
195 197
I Q. Okay, l A. Oh, okay. I have to put this in context.
2 A. What are the odds we could take a break for 2 (Looking at report.) Yeah. What -- What I'm referring
3 bathroom here? 3 to here is we did not see blisters in the way that
4 Q. Sure, That's fine, 4 Vertex is describing what a blister is, That would be a
3 MR. McCLENNY: Absolutely. 5 different phenomena. A blister would be indicative of
6 (Recess from 1:36 p.m. to 1:50 p.m.) 6 improper mix of the material, improper installation or
7 MR. PFANSTIEL: Can we go back on? 7 installing over wet materials; and it evidences itself
a MR. McCLENNY: Sure, 8 more as a bubble, a lifting up, that creates a blister.
$ Q. (BY MR. PFANSTIEL) Alftight. Mr. Inmiter -- $ That's what I'm pointing is.
0 A. Yes, 10 So the blisters that we're seeing are —
N Q.. -- is it your testimony today that the moisture uM What I'm calling a blister and what he's calling a
R you found in the roof was caused by hail fractures to 12 blister are probably two different things, There are
13 the roof? 13 indications of delaminated elastomeric coating that has
4 A. The hail fractures created the mechanism for I4 blistered. That's a coating on top, and that's most
15 the water entry. 13 likely indicative to poor surface prep; putting that
6 Q, Okay. Is it your testimony that the hail 16 material over dirty --
7 fractures are the sole cause of the moisture in the roof 17 Q. Right.
18 membrane? 18 A, —dirty membrane. That's, really, what's that
9 A. Yes, 18 doing. And that -- So it's two different things.
20 Q. And that the alligator cracking had no -- was 20 Q. Okay. So -
2 not a causal reason for that. 2 A. Yeah.
22 A. Yes. 22 Q. Butas I understand your testimony today,
23 Q. And part of that opinion is based on your 23 effectively, you were able to identify moisture in the
24 observations on the site, and part of that is because of 24 roof by the Tramex and infrared technologies; and then
25 the -- the facts as related to you by the building owner 25 you also found some fractures, and you did a -- you did
50 (Pages 194 to 197)
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